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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                    WESTERN DIVISION



     SCOTT TURNAGE, DEONTAE TATE, JEREMY S.                      )   Case No. 2:16-cv-2907-
     MELTON, ISSACCA POWELL, KEITH BURGESS,                      )   SHM/tmp
     TRAVIS BOYD, TERRENCE DRAIN, and                            )
     KIMBERLY ALLEN on behalf of themselves and all              )   (Hon. Judge Samuel H. Mays)
     similarly situated persons,                                 )
                                                                 )
             PLAINTIFFS,                                         )
     V.                                                          )
                                                                 )
     BILL OLDHAM, in his individual capacity as former           )
     Sheriff of Shelby County, Tennessee; FLOYD                  )
     BONNER, JR., in his official capacity as Sheriff of         )
     Shelby County, Tennessee; ROBERT MOORE, in his              )
     individual capacity as former Jail Director of Shelby       )
     County, Tennessee; KIRK FIELDS, in his official             )
     capacity as Jail Director of Shelby County, Tennessee;      )
     CHARLENE McGHEE, in her individual capacity as              )
     former Assistant Chief of Jail Security of Shelby County,   )
     Tennessee; REGINALD HUBBARD, in his official                )
     capacity as Assistant Chief of Jail Security of Shelby      )
     County, Tennessee; DEBRA HAMMONS, in her                    )
     individual capacity as former Assistant Chief of Jail       )
     Programs of Shelby County, Tennessee; TIFFANY               )
     WARD in her official capacity as Assistant Chief of Jail    )
     Programs of Shelby County, Tennessee; SHELBY                )
     COUNTY, TENNESSEE, a Tennessee municipality;                )
     TYLER TECHNOLOGIES, INC., a foreign corporation;            )
     GLOBAL TEL *LINK CORPORATION, a foreign                     )
     corporation; SOFTWARE AG USA, INC., a foreign               )
     corporation; and SIERRA-CEDAR, INC., a foreign              )
     corporation, SIERRA SYSTEMS GROUP, INC., a                  )
     foreign corporation; and TETRUS CORP, a foreign             )
     corporation                                                 )
                                                                 )
             DEFENDANTS.                                         )


          JOINT DECLARATION OF MICHAEL G. MCLAREN, FRANK L. WATSON, III,
            WILLIAM F. BURNS, AND BRICE M. TIMMONS IN SUPPORT OF CLASS
             COUNSEL'S MOTION FOR AN AWARD OF ATTORNEYS' FEES AND
                           REIMBURSEMENT OF EXPENSES
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            19.    The time and hourly rate of each time keeper that worked on this matter breaks

     down as follows:

           Law Firm                 Timekeeper           Hourly       Hours            Total
                                                          Rate   Expended
     WATSON BURNS, PLLC Frank L. Watson, III            $500.00 971.70    $485,850.00

                              William F. Bums           $495.00 975.20          $482,724.00

                              William E. Routt          $385.00 986.60          $379,841.00

     BLACK MCLAREN           Michael G. McLaren         $500.00 459.90          $229,950.00
     JONES RYLAND &
     GRIFFEE, PC             William E. Cochran, Jr.    $420.00 548.80          $230,496.00

                              Brice M. Timmons          $420.00 410.90          $172,578.00

                             Holly Jackson Renken       $375.00 234.10          $87,787.50

                             Charles S. Mitchell        $375.00 32.20           $12,075.00

                             Christopher M. Williams    $220.00 115.50          $25,410.00

                             Paralegal/Law Clerk        $135.00 415.00          $56,025.00

                             Other Attorneys            Various 27.80           $6,527.50

     DONATI LAW, PLLC        Brice M. Timmons           $420.00 177.70          $74,634.00

                             Craig A. Edgington         $275.00 207.25          $56,993.75

                             Paralegal                  $135.00 4.0             $540.00

     TOTALS:                                                       5566.65      $2,301,431.75



            20.    These hours do not include any hours performed after the date of this filing and

     thus do not include preparation for the Final Fairness Hearing, attendance at the Final

     Fairness Hearing, or Counsel's involvement in the ongoing claims period and claims process,

     which will continue after the Final Fairness Hearing. While



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   this is merely a prediction, it is likely that Counsel will expend in excess of 100 hours that is not

    included in the chart above.

           21.     Class Counsel incurred a total of $143,418.95 in expenses in the prosecution of

   this case, which includes expenses associated with e-discovery document hosting and review,

   seventeen depositions, and all of the ordinary costs of litigation. All of these expenses were

   necessary and reasonable in the prosecution of this case.

         IV.     REASONS FOR GRANTING THE CLASS COUNSELS' FEE REQUEST

           22.     First, the Settlement clearly confers substantial benefits on members of the

   Settlement Class. Specifically, the Settlement, if approved, entitles members of the Settlement

   Class to (i) $750 per day for each day of Over Detention between 1 and 3 days; (ii) $1,000 per

   day for each day of Over Detention between 4 and 11 days; and (iii) $2,500 per day for each day

   of Over Detention of 12 or more days. These Class Members would be unlikely to otherwise

   recover any compensation for their injuries in this action apart from this favorable Settlement as,

   in most instances, it is not economically viable to litigate their claims on an individual basis,

   particularly in light of the difficult and complex legal questions raised by defense counsel. In

   light of the uncertainty of liability and the unlikelihood that individual Class Members would

   pursue litigation on their own, we contend that the proposed Settlement here is fair, reasonable,

   adequate and in the best interests of the Class Members.

           23.     The benefits of the Settlement were achieved in the face of significant litigation

   time, expense, and risks and without the additional expense and burden of lengthy trial and

   appellate proceedings. We determined that the likelihood of recovery on the Class's claims were

   uncertain and/or would result in extensive appellate proceedings. In swn, it was unclear whether

   any recovery on a judgment against Defendants would ever be accomplished outside of

   settlement.   We, therefore, negotiated a settlement that we believe maximized the Class's


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   constitutional law. Mr. Timmons is one of only a handful of lawyers in Shelby County,

   Tennessee who routinely litigates complex federal civil rights litigation arising outside the

   employment context.

          42.     We have also applied to this Court for reimbursement of $143,418.95 of our out-

   of-pocket expenses incurred in prosecuting this case. Given the nature of this case, these

   expenses were not only reasonable and necessary but essential to achieving resolution of this

   case. In addition, we have requested an incentive award for each named Plaintiff in this action,

   all of whom were deposed and expended significant time and effort assisting in the prosecution

   of this case. We believe they are very deserving of the requested award.

          43.     As a result of the above, we respectfully request that the Court grant our fee and

   expense request in the amount of $2,400,000.00 and grant incentive awards to each named

   Plaintiff in the amount of $17,500.00.

          We declare under penalty of perjury pursuant to the laws of the United States of

   America that the foregoing is true and correct.

                             �'-
          Executed this ;).(}�day of October, 2021 at Memphis, Tennessee



                                                . /?lJ-zaL �- 71Pc�
                                                Michael G. McLaren


          Executed this :0,(i-- day of October, 2021 at Memphis, Tennessee




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